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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

  1) DONALD TEMPLE and                           )
  2) MARY TEMPLE,                                )
                                                 )
                           Plaintiffs,           )
                                                 )
                                                     Case No. 4:18-cv-00041-JED-JFJ
  v.                                             )
                                                 )
                                                     State Court Case No. CJ-2017-22
  1) STATE FARM FIRE AND                         )
                                                     District Court of Creek County (Bristow)
  CASUALTY COMPANY,                              )
                                                 )
                           Defendant.            )


                                         NOTICE OF REMOVAL

              Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant State Farm Fire and

 Casualty Company, (“State Farm”) hereby removes this action from the District Court of

 Creek County (Bristow), Oklahoma, where it was filed as Case No. CJ-2017-22, to the

 United States District Court for the Northern District of Oklahoma. As the grounds for

 removal, State Farm states as follows:

              1.    On July 7, 2017, Plaintiffs Donald and Mary Temple commenced an action

 against Defendant State Farm in the District Court of Creek County, in the State of

 Oklahoma, titled Donald and Mary Temple v. State Farm Fire and Casualty Company,

 Case No. CJ-2017-22 (the “State Court Action”).

              2.    Plaintiffs served State Farm on December, 28, 2017, via service on the

 Oklahoma Insurance Department.

              3.    State Farm is filing its notice of removal on January 17, 2018, which is within

 the 30-day period provided by 28 U.S.C. § 1446(b).


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              • Pursuant to 28 U.S.C. § 1446(a) and Local Rule LCvR 81.2, State Farm has

                   attached as exhibits to this Notice of Removal true and legible copies of all

                   documents filed or served in the State Court Action. Docket Sheet for state court

                   action CJ-2017-00022, in the District Court in and for Creek County, Oklahoma

                   (Bristow Division)

              • Exhibit 2 - Petition, filed July 7, 2017

              • Exhibit 3 - Motion to Extend Time For Obtaining Service, filed December 20,

                   2017

              • Exhibit 4 - Order granting Plaintiffs’ Motion to Extend Time for Obtaining

                   Service.

              • Exhibit 5 - Summons received by Oklahoma Insurance Department on

                   December 28, 2017

              4.      There are no pending motions in the state court.

                                          Diversity Jurisdiction

              5.      Plaintiffs allege that they reside in Creek County, Oklahoma. Ex. 2, Pet., ¶ 1.

              6.      State Farm is and was at the time of filing the Petition a citizen of Illinois.

 See 28 U.S.C. § 1332(c) (“For the purposes of this section and section 1441 of this title…a

 corporation shall be deemed a citizen of every State and foreign state by which it has been

 incorporated and the State or foreign state where it has its principal place of business….”).

 State Farm is a corporation incorporated under the laws of Illinois with its principal place

 of business in Bloomington, Illinois. See also Ex. 2, Pet., ¶2 (alleging that State Farm is a




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 incorporated under the laws of Illinois). Thus, there is complete diversity of citizenship

 between the Plaintiffs and Defendant.

              7.    Plaintiffs further allege that their actual damages exceed $75,000.00. See

 Ex. 2, Pet., ¶¶ 14, 18, 24, 27.

              8.    Accordingly, the requirements for diversity jurisdiction are satisfied.

                                           Venue and Notice

              9.    Venue is appropriate in this Court, as this Court is in the district in which the

 State Court Action was pending.

              10.   Written notice of the filing of this Notice of Removal will be given promptly

 to counsel for Plaintiff, and a copy of the Notice of Removal will be filed with the Clerk

 of the Creek County District Court, as required by 28 U.S.C. § 1446(d).

              Accordingly, State Farm removes all claims in the State Court Action from the

 District Court for Creek County, Oklahoma, to the United States District Court for the

 Northern District of Oklahoma.

              Dated: January 17, 2018.




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                                                Respectfully submitted,


                                                /s/Mia Vahlberg
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                                                COUNSEL FOR DEFENDANT
                                                STATE FARM FIRE AND CASUALTY
                                                CO.



                                CERTIFICATE OF MAILING

        I do hereby certify that on January 17, 2018, a true, correct and exact copy of the
 above and foregoing document was served via CMECF and by U.S. first class mail to those
 parties listed below:

              Lee I. Levinson
              Terrence P. Brennan
              Evan McLemore
              Levinson, Smith & Huffman, P.C.
              1743 E. 71st Street
              Tulsa, OK 74136-5108

                                                /s/ Mia Vahlberg
                                                Mia Vahlberg




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